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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

PATRICK NATHANIEL REED,                       Case No. 3-22-CV-01059-TJC-PDB

      Plaintiff,

vs.

BRANDEL CHAMBLEE; TGC, LLC;
DAMON HACK; BENJAMIN BACON;
EAMON LYNCH; GANNETT
SATELLITE INFORMATION
NETWORK, LLC; GANNETT CO., INC.;
CONDE NAST INTERNATIONAL, INC.;
ZACH HELFAND

   Defendants.


      DECLARATION OF MINCH MINCHIN IN SUPPORT OF
   DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

        I, Minch Minchin, pursuant to 28 U.S.C. § 1746, hereby declare as

follows:

        1. I am an associate at the law firm of Shullman Fugate PLLC, counsel

for Defendants Brandel Chamblee, Damon Hack, Benjamin Bacon, Eamon

Lynch, and TGC, LLC d/b/a The Golf Channel (“Golf Channel,” and

collectively, “Defendants”) in the above-captioned matter.

        2. I submit this declaration to annex documents relevant to

Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint in this action.
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      3. Attached hereto as Exhibit 1(a) is a true and correct video copy of

Publication Number 1, identified in the Amended Complaint at Paragraph

57: “Brandel Chamblee Thoughts of the LIV Golf Tour,” appearing on The

Stripe Show Podcast and published on YouTube on June 14, 2022 at the

following URL: https://www.youtube.com/watch?v=xXxnqWJdWhI&t=339s.

      4. Attached hereto as Exhibit 1(b) is a true and correct transcription

copy of Publication Number 1, identified in the Amended Complaint at

Paragraph 57: “Brandel Chamblee Thoughts of the LIV Golf Tour,” appearing

on The Stripe Show Podcast and published on YouTube on June 14, 2022 at

the following URL:

https://www.youtube.com/watch?v=xXxnqWJdWhI&t=339s.

      5. Attached hereto as Exhibit 2 is a true and correct copy of Publication

Number 2, identified in the Amended Complaint at Paragraph 65:

“Mickelson’s statements inaccurate and ironic: Obnoxious greed? Et tu,

Phil?,” authored by Brandel Chamblee and published on Golf Channel’s

website on February 5, 2022 at the following URL:

https://www.golfchannel.com/news/mickelsons-statements-inaccurate-and-

ironic-obnoxious-greed-et-tu-phil.




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      6. Attached hereto as Exhibit 3 is a true and correct copy of Publication

Number 3, identified in the Amended Complaint at Paragraph 70: “‘It makes

me want to puke’ – Chamblee rips LIV Golf stars in scathing attack,”

authored by Jason Daniels and published on Golf WRX’s website on June 10,

2022 at the following URL: https://www.golfwrx.com/678264/it-makes-me-

want-to-puke-chamblee-rips-liv-golf-stars-in-scathing-attack/.

      7. Attached hereto as Exhibit 4 is a true and correct copy of Publication

Number 4, identified in the Amended Complaint at Paragraph 78: “Brandel

Chamblee slaughters Patrick Reed over rules row,” authored by Ryan

Crombie and published on Bunkered’s website on February 1, 2021 at the

following URL: https://www.bunkered.co.uk/golf-news/brandel-chamblee-

slaughters-patrick-reed-over-rules-row.

      8. Attached hereto as Exhibit 5(a) is a true and correct video copy of

Publication Number 5, identified in the Amended Complaint at Paragraph

83: “Patrick Reed has lost the benefit of the doubt after another controversy,”

appearing on Golf Channel and published on YouTube on January 31, 2021

at the following URL: https://www.youtube.com/watch?v=aIKObXgWpRY.




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      9. Attached hereto as Exhibit 5(b) is a true and correct transcription

copy of Publication Number 5, identified in the Amended Complaint at

Paragraph 83: “Patrick Reed has lost the benefit of the doubt after another

controversy,” appearing on Golf Channel and published on YouTube on

January 31, 2021 at the following URL:

https://www.youtube.com/watch?v=aIKObXgWpRY.

      10.      Attached hereto as Exhibit 6(a) is a true and correct copy of

Publication 6[a], identified in the Amended Complaint at Paragraph 89: a

Tweet from Brandel Chamblee published on or about August 9, 2022 at the

following URL: https://twitter.com/chambleebrandel.

      11.      Attached hereto as Exhibit 6(b) is a true and correct copy of

Publication 6[b], identified in the Amended Complaint at Paragraph 90: a

Tweet from Brandel Chamblee published on or about June 26, 2022 at the

following URL: https://twitter.com/chambleebrandel.

      12.      Attached hereto as Exhibit 6(c) is a true and correct copy of

Publication 6[c], identified in the Amended Complaint at Paragraph 91: a

Tweet from Brandel Chamblee published on or about September 2, 2022 at

the following URL: https://twitter.com/chambleebrandel.




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     13.      Attached hereto as Exhibit 6(d) is a true and correct copy of

Publication 6[d], identified in the Amended Complaint at Paragraph 92: a

Tweet from Brandel Chamblee published on or about September 13, 2022 at

the following URL: https://twitter.com/chambleebrandel.

     14.      Attached hereto as Exhibit 6(e) is a true and correct copy of

Publication 6[e], identified in the Amended Complaint at Paragraph 93: a

Tweet from Brandel Chamblee published on or about August 28, 2022 at the

following URL: https://twitter.com/chambleebrandel.

     15.      Attached hereto as Exhibit 6(f) is a true and correct copy of

Publication 6[f], identified in the Amended Complaint at Paragraph 94: a

Tweet from Brandel Chamblee published on or about August 28, 2022 at the

following URL: https://twitter.com/chambleebrandel.

     16.      Attached hereto as Exhibit 6(g) is a true and correct copy of

Publication 6[g], identified in the Amended Complaint at Paragraph 95: a

Tweet from Brandel Chamblee published on or about August 30, 2022 at the

following URL: https://twitter.com/chambleebrandel.

     17.      Attached hereto as Exhibit 6(h) is a true and correct copy of

Publication 6[h], identified in the Amended Complaint at Paragraph 96: a




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Tweet from Brandel Chamblee published on or about September 2, 2022 at

the following URL: https://twitter.com/chambleebrandel.

      18.     Attached hereto as Exhibit 6(i) is a true and correct copy of

Publication 6[i], identified in the Amended Complaint at Paragraph 97: a

Tweet from Brandel Chamblee published on or about August 28, 2022 at the

following URL: https://twitter.com/chambleebrandel.

      19.     Attached hereto as Exhibit 6(j) is a true and correct copy of

Publication 6[j], identified in the Amended Complaint at Paragraph 98: a

Tweet from Brandel Chamblee published on or about September 15, 2022 at

the following URL: https://twitter.com/chambleebrandel.

      20.     Attached hereto as Exhibit 7(a) is a true and correct copy of

Publication 7[a], identified in the Amended Complaint at Paragraph 99:

“Lynch: PGA Tour’s war with LIV Golf enters ‘Return of the Jedi’ phase,”

authored by Eamon Lynch and published on Golfweek’s website on August

24, 2022 at the following URL:

https://golfweek.usatoday.com/2022/08/24/lynch-pga-tour-news-liv-golf-

leverage/.




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     21.      Attached hereto as Exhibit 7(b) is a true and correct copy of

Publication 7[b], identified in the Amended Complaint at Paragraph 102:

“Lynch: LIV Golf’s problems aren’t limited to Greg Norman’s incompetence.

Replacing him won't solve them,” authored by Eamon Lynch and published

on Golfweek’s website on November 10, 2022 at the following URL:

https://golfweek.usatoday.com/2022/11/10/eamon-lynch-problems-liv-golf-

greater-greg-norman-incompetence/.

     22.      Attached hereto as Exhibit 8(a) is a true and correct video

copy of Publication 8, identified in the Amended Complaint at Paragraph 107:

“Should LIV Golf get world ranking points?,” appearing on Golf Channel and

published on YouTube on September 20, 2022 at the following URL:

https://www.youtube.com/watch?v=olI_xayeEBE.

     23.      Attached hereto as Exhibit 8(b) is a true and correct

transcription copy of Publication 8, identified in the Amended Complaint at

Paragraph 107: “Should LIV Golf get world ranking points?,” appearing on

Golf Channel and published on YouTube on September 20, 2022 at the

following URL: https://www.youtube.com/watch?v=olI_xayeEBE.




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      24.      Attached hereto as Exhibit 9 is a true and correct copy of the

Complaint in Reed v. Chamblee et al., Case 4:22-cv-02778 (S.D. Tex. August

16, 2022).

      25.      Attached hereto as Exhibit 10(a) is a true and correct copy of

“A brief history of Patrick Reed’s highs and controversial lows,” authored by

Josh Berhow and published on Golf.com on April 8, 2018 at the following

URL: https://golf.com/news/tournaments/a-brief-history-of-patrick-reeds-

highs-and-controversial-lows/.

      26.      Attached hereto as Exhibit 10(b) is a true and correct copy of

“Patrick Reed doesn’t care what you think—he’s the Masters champion,”

authored by Ian O’Connor and published on Espn.com on April 8, 2018 at the

following URL: https://www.espn.com/golf/story/_/id/23083108/masters-2018-

patrick-reed-brushes-aside-pressure-win-first-major-championship.

      27.      Attached hereto as Exhibit 10(c) is a true and correct copy of

“The ugly history that will forever hurt golf’s most hated man,” authored by

Gadiel Notelovitz and published on FoxSports.com on February 1, 2021 at the

following URL: https://www.foxsports.com.au/golf/golf-2021-patrick-reed-




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cheating-history-farmers-insurance-open/news-

story/269388b71b9e4562f5081129a78cf0c0.

     28.      Attached hereto as Exhibit 10(d) is a true and correct copy of

“Kisner: College teammates hated Patrick Reed,” published by Reuters on

December 12, 2018 at the following URL: https://www.reuters.com/article/us-

golf-pga-reed/kisner-college-teammates-hated-patrick-reed-

idUSKBN1OB2SQ.

     I declare under penalty of perjury that the foregoing is true and correct.

Dated: January 5, 2023.

                                   /s/ Minch Minchin
                                   Minch Minchin (Fla. Bar No. 1015950)
                                   mminchin@shullmanfugate.com
                                   50 N. Laura Street, Suite 2500
                                   Jacksonville, FL 32202
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                                   Attorney for Golf Channel, Brandel
                                   Chamblee, Damon Hack, Benjamin
                                   Bacon, and Eamon Lynch




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